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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

In re: Vioxx® MDL Docket No. 1657
Product Liability Litigation
SECTION L
This document relates to:
John S. Breeding, et al. JUDGE FALLON

v

Merck & Co., Inc., et al. MAGISTRATE JUDGE KNOWLES

Docket No. 2:05-cv-04933

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ORDER OF DISMISSAL WITH PREJUDICE

Considering the foregoing Stipulation of Dismissal With Prejudice,

IT IS ORDERED that the claims of plaintiffs John S. Breeding and Paula Breeding in the
above-captioned case be and they hereby are dismissed with prejudice with each party to bear his
or her own costs.

NEW ORLEANS, LOUISIANA, this day of , 2009.

DISTRICT JUDGE
